                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MISSOURI
                            AT KANSAS CITY

GLENICE BROWN,                  )
                                )
LATONDRA MOORE,                 )
                                )
and                             )
                                )
TAMARA SOLOMON,                 )
                                )
               Plaintiffs,      )
                                )
v.                              )                   Case No. 4:20-CV-00920-DGK
                                )
KANSAS CITY POLICE DEPARTMENT )
D/B/A KANSAS CITY BOARD OF      )
POLICE COMMISSIONERS            )
                                )
and                             )
                                )
KANSAS CITY, MISSOURI FRATERNAL )
ORDER OF POLICE LODGE # 99,     )
                                )
               Defendants.      )

 DEFENDANT KANSAS CITY, MISSOURI FRATERNAL ORDER OF POLICE
   LODGE # 99’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO
 ANSWER OR OTHERWISE RESPOND TO PLAINTIFF’S COMPLAINT AND
                    SUGGESTIONS IN SUPPORT

      COMES NOW Defendant Kansas City, Missouri Fraternal Order of Police Lodge

# 99, (“FOP Lodge # 99”), by and through counsel, and respectfully requests that this

Court issue and Order granting FOP Lodge # 99 and additional twenty-one (21) days, up




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to and including March 16, 2021, in which to file its responsive pleading or otherwise

respond to Plaintiffs’ Complaint. In support of this Motion, FOP Lodge # 99 states as

follows:


I.       Procedural History

         1.    On November 16, 2020, Plaintiffs filed their current lawsuit against FOP

Lodge # 99. See Doc. 1.

         2.    On January 6, 2021, Plaintiffs filed their Amended Complaint. See Doc. 3.

         3.    On February 2, 2021, Plaintiffs served their Complaint on FOP Lodge # 99.

See Doc. 4.

         4.    On February 2, 2021, Plaintiffs served their Amended Complaint on FOP

Lodge # 99. See Doc. 5.

         5.    FOP Lodge # 99’s original deadline to answer or otherwise respond to the

Amended Complaint is February 23, 2021, which is 21 days from service thereof. The

time to answer or otherwise respond has not yet passed. Therefore, this motion is timely

filed.

         6.    No prior extension of time has been requested by FOP Lodge # 99.

         7.    The Amended Complaint contains 319 paragraphs of allegations against the

Defendants, and 20 Counts against Defendants.

         8.    FOP Lodge # 99 requires additional counts to evaluate the Amended

Complaint and determine how to answer or otherwise respond.




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       9.      Counsel for FOP Lodge # 99 has contacted counsel for Plaintiffs, who has

represented that Plaintiffs do not oppose the requested extension of time.

       10.     This Motion is not made for purposes of vexation or delay, nor will it affect

the trial date of this matter, as a scheduling order has not been entered.

       11.     No party will be prejudiced by the requested extension of time.


II.    Suggestions and Argument

       The Court is empowered to extend the time for Defendant FOP Lodge # 99 to
answer or otherwise respond to the Amended Complaint. Rule 6(b) of the Federal Rules
of Civil Procedure provides, in relevant part:

       (1)     In General. When an act may or must be done within a specified time, the
               court may, for good cause, extend the time:
               (A) with or without motion or notice if the court acts, or if a request is
                      made, before the original time or its extension expires.

Fed. R. Civ. P. 6(b). Defendant FOP Lodge # 99 are still evaluating Plaintiffs’ Amended

Complaint, with its numerous factual allegations and counts against the Defendants, and

evaluating how best to respond to the allegations contained therein.

       Defendant FOP Lodge # 99 seeks an additional twenty-one (21) days in which to

respond. No prior extensions have been requested, and the Motion is not made for

purposes of vexation or delay. The extension of time to respond will not affect the trial

date or any other deadlines in this Matter. No party will be prejudiced by granting this

request.

       WHEREFORE, Defendant FOP Lodge # 99 respectfully requests that this Court

issue its Order granting FOP Lodge # 99 a twenty-one day extension of time, up to and



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including March 16, 2021, in which to file its responsive pleading or otherwise respond

to Plaintiffs’ Amended Complaint, and for all other relief the Court deems just and

proper.

                                               Respectfully submitted,

                                               McCAULEY & ROACH, LLC


                                               By: _/s/ Nicholas S. Ruble___________
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                                                   Attorneys for Defendant Kansas
                                                   City, Missouri Fraternal Order of
                                                   Police Lodge # 99

                                 Certificate of Service

       I hereby certify that on February 22, 2021, the foregoing was electronically filed
in the Court’s CM/ECF system which provide notice of the same to all counsel of record.

                                                    _/s/ Nicholas S. Ruble___________




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